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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      SA:20-CR-00488(2)-OLG
                                                §
(2) JAYLYN CHRISTOPHER MOLINA                   §

           ORDER CANCELLING SENTENCING - IN PERSON
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set

for SENTENCING - IN PERSON on Thursday, January 20, 2022 at 09:30 AM is hereby

CANCELLED until further order of the court.

      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. If the defendant is on bond, counsel for the defendant shall notify the

defendant that this matter is cancelled.

        IT IS SO ORDERED this 12th day of January, 2022.




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                                                ORLANDO L. GARCIA
                                                CHIEF U.S. DISTRICT JUDGE
